                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     AT NASHVILLE

FRED ROBINSON; ASHLEY SPRAGUE;                      )
 JOHNNY GIBBS; and BRIANNA BOOHER,                  )
 on behalf of themselves and all others             )
similarly situated,                                 )
                                                    )
                                Plaintiffs,         )
                                                    )
           v.                                       )               No. 3:17-cv-01263
                                                    )               JUDGE TRAUGER
DAVID W. PURKEY, Commissioner of the                )
Tennessee Department of Safety and Homeland         )
Security, in his official capacity; DEBBIE MOSS, )
Circuit Court Clerk of Wilson County, Tennessee, )
in her official capacity; MELISSA HARRELL,          )
Circuit Court Clerk of Rutherford County,           )
Tennessee, in her official capacity; COREY          )
LINVILLE, Court Clerk of the Municipal Court        )
of Lebanon, Tennessee, in his official capacity;    )
SUSAN GASKILL, Court Clerk of the City Court )
of Mt. Juliet, Tennessee, in her official capacity; )
WILSON COUNTY, TENNESSEE;                           )
RUTHERFORD COUNTY, TENNESSEE;                       )
LEBANON, TENNESSEE; and MT. JULIET,                 )
TENNESSEE,                                          )
                                                    )
                                Defendants.         )

                 CORRECTED AMENDED COMPLAINT - CLASS ACTION

        Plaintiffs Fred Robinson, Ashley Sprague, Johnny Gibbs, and Brianna Booher (collec-

tively “Plaintiffs”) respectfully submit this Corrected Amended Complaint1 in support of their

claims against Defendants.




1
 From their Amended Complaint, Plaintiffs have corrected the date from 2017 to 2016 in Paragraph 119; deleted
Paragraphs 171 and 172, as those were redundant of Paragraphs 160 and 161; renumbered all subsequent paragraphs
as a result; and added the phrase “and continuing” to Paragraph 249 to conform to Paragraphs 248 and 251.




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                                        INTRODUCTION

       1.      Over the past five years, Tennessee has suspended more than a quarter of a mil-

lion driver’s licenses for nonpayment of fines, court costs, and litigation taxes arising from driv-

ing offenses and traffic citations (together, “Traffic Debt”). These suspensions are not part of the

punishment for any traffic-related infraction; they relate solely to debt collection.

       2.      In most of Tennessee, a driver’s license is essential to economic self-sufficiency

and to meaningful participation in society. Without their driver’s licenses, Plaintiffs and class

members have difficulty finding and keeping employment, going to the doctor, attending church

or other religious services, caring for and spending time with family members, taking their chil-

dren to school, grocery shopping, and participating in other fundamental aspects of daily life.

Deprived of their driver’s licenses, they cannot secure and maintain the jobs necessary to earn

the money to pay Traffic Debt.

       3.      No court orders these suspensions; they are not part of the punishment for any

traffic-related infraction. The suspensions are administrative acts of debt collection, initiated by

court clerks and effected by the Tennessee Department of Safety and Homeland Security (“the

Department”). For Plaintiffs and putative class members, these suspensions for nonpayment oc-

cur only because they are too poor to pay Traffic Debt.

       4.      Throughout Tennessee, county and municipal court clerks collect Traffic Debt

without any inquiry into the debtor’s ability to pay. If the clerks do not receive payment, they

notify the Department. The clerks make no inquiry into the reasons for nonpayment.

       5.      Upon being notified of nonpayment by a clerk’s office, the Department, under the

purview of Defendant Purkey, suspends driver’s licenses automatically, without conducting any




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inquiry into the driver’s ability to pay and without having received any information from the

clerks as to the driver’s ability to pay.

        6.       Many court clerks—such as the Defendants in this case—refuse to accept partial

payments and do not offer payment plans for Traffic Debt. Indigent Tennesseans, if they can pay

at all, are too poor to pay Traffic Debt in one lump sum. Unable to secure enough money to pay

their Traffic Debt in a single payment, they cannot pay it at all. For this reason, for Plaintiffs and

class members, Traffic Debt serves as an absolute barrier to regaining their driver’s licenses.

        7.       As alleged in more detail below, under the statutory scheme and pursuant to the

Department’s policy and practice, many of these suspensions occur entirely without notice to the

licensees.

        8.       Moreover, the Department never provides licensees with an opportunity to be

heard on the central issue of whether they have the ability to pay the Traffic Debt.

        9.       Because the Department does not routinely notify people that their licenses have

been or will be suspended, many people continue to drive in the mistaken belief that they have a

valid license.

        10.      Others knowingly drive without a license because they need to get to work or im-

portant medical appointments and they have no other means of transportation.

        11.      Many Tennessee residents are charged with driving on suspended licenses, for

which they incur more fines and costs that they cannot afford to pay, and for which they may

even be incarcerated. Defendants’ policies and practices thus trap indigent Tennesseans in a vi-

cious cycle of debt from which escape is virtually impossible.

        12.      Defendants violate the Due Process and Equal Protection Clauses of the United

States Constitution (1) by effecting the suspension of the licenses of Plaintiffs and class members




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without notice and without consideration of their ability to pay, in violation of Bearden v. Geor-

gia, 461 U.S. 660 (1983), and Bell v. Burson, 402 U.S. 535 (1971); and (2) by subjecting people

who owe Traffic Debt to unduly harsh and discriminatory treatment as compared to other judg-

ment debtors, in violation of James v. Strange, 407 U.S. 128 (1972).

        13.     Plaintiffs and class members seek declaratory and injunctive relief, on behalf of

themselves and all others similarly situated, prohibiting Defendants from suspending driver’s

licenses without providing notice and without considering ability to pay, in violation of the Unit-

ed States Constitution.

                                  JURISDICTION AND VENUE

        14.     This Court has jurisdiction over this action pursuant to 42 U.S.C. § 1983, 28

U.S.C. § 1331, and the Fourteenth Amendment to the United States Constitution. Declaratory

relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

        15.     Venue in this district is proper under 28 U.S.C. § 1391(b) because a substantial

part of the events giving rise to this claim occurred in the district.

                                              PARTIES

        16.     Plaintiff Fred Robinson resides in Murfreesboro, Tennessee.

        17.     Plaintiff Ashley Sprague resides in Lebanon, Tennessee.

        18.     Plaintiff Johnny Gibbs resides in Murfreesboro, Tennessee.

        19.     Plaintiff Brianna Booher resides in Bristol, Tennessee.

        20.     Defendant David W. Purkey is the Commissioner of the Tennessee Department of

Safety and Homeland Security. He is sued in his official capacity.




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          21.   Defendant Melissa Harrell is the Circuit Court Clerk of Rutherford County, Ten-

nessee and, as such, is also the Clerk of other Rutherford County courts, including the General

Sessions Court. She is sued in her official capacity.

          22.   Defendant Debbie Moss is the Circuit Court Clerk of Wilson County, Tennessee

and, as such, is also the Clerk of other Wilson County courts, including the General Sessions

Court. She is sued in her official capacity.

          23.   Defendant Corey Linville is the Clerk of the Municipal Court of Lebanon, Ten-

nessee. He is sued in his official capacity.

          24.   Defendant Susan Gaskill is the Clerk of the City Court of Mt. Juliet, Tennessee.

She is sued in her official capacity.

          25.   Together, Defendants Harrell, Moss, Linville, and Gaskill are the “Clerk Defend-

ants.”

          26.   Rutherford and Wilson Counties are two of the 95 counties of the State of Ten-

nessee.

          27.   Mt. Juliet and Lebanon are municipalities in Wilson County, Tennessee.

                                   FACTUAL ALLEGATIONS

Collection of Traffic Debt

          28.   In Tennessee, drivers without the ability to pay Traffic Debt lose their licenses

under Tenn. Code Ann. § 55-50-502; those who have the ability to pay Traffic Debt keep their

driver’s licenses.

          29.   Collection of Traffic Debt is the responsibility of county court clerks and the

clerks of municipal or city courts, including the Clerk Defendants, throughout Tennessee.




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        30.    Tennessee law requires county and municipal court clerks to report convictions

for violations of traffic laws to the Department within 30 days. Tenn. Code. Ann. § 55-10-

306(b)(1).

        31.    No Tennessee law requires county and municipal court clerks to report nonpay-

ment of Traffic Debt to the Department.

        32.    Nevertheless, most if not all county and municipal court clerks—including the

Clerk Defendants—have adopted a policy and practice of notifying the Department whenever a

person does not pay Traffic Debt within a certain period of time (“Notification Policy”).

        33.    The Clerk Defendants know that Tennessee law permits the Department to sus-

pend the licenses of any person who has not paid Traffic Debt.

        34.    The Clerk Defendants also know that the policy and practice of the Department is

to suspend the license of every person about whom it has received notification of nonpayment of

Traffic Debt, unless the Department receives subsequent notification from the clerk that the Traf-

fic Debt has been paid.

        35.    The Clerk Defendants have chosen to adopt Notification Policies so that they can

use the threat of suspension by the Department as a coercive tool to collect unpaid Traffic Debt.

        36.    Under their respective Notification Policies, the Clerk Defendants do not consider

a driver’s ability to pay Traffic Debt before sending notification of nonpayment to the Depart-

ment.

        37.    Clerks generally provide a 30-90 day window for collection of the full amount of

Traffic Debt. The number of days varies by jurisdiction.

        38.    When the deadline passes without payment, the clerks, as an act of debt collec-

tion, notify the Department of the nonpayment.




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       39.       The Clerk Defendants (or their predecessors in office) have each adopted Notifi-

cation Policies under which they send notifications of nonpayment to the Department. The Clerk

Defendants know that the reporting of nonpayment will trigger license suspension by the Com-

missioner. The Clerk Defendants engage in this discretionary act as part of their debt collection

efforts. They do so without conducting any individualized inquiry into the reasons for nonpay-

ment, including into the driver’s ability to pay Traffic Debt.

Tennessee’s Driver’s License Suspension Law

       40.       Under Tennessee law:

              The Department is authorized to suspend the license of an operator or chauffeur upon
              a showing by its records or other sufficient evidence that the licensee . . .
                    (H)    Has been finally convicted of any driving offense in any court
                           and has not paid or secured any fine and costs imposed for that
                           offense . . . ; [or]
                     (I)   Has failed to appear in any court to answer or to satisfy any
                           traffic citation issued for violating any statute regulating traffic.
Tenn. Code Ann. § 55-50-502(a)(1), (a)(1)(H), (I) (West 2015) (together, the “Statute”) (empha-

ses added).

       41.       When the Department receives notice from a clerk that a license-holder has not

paid fines and costs imposed under subsection (a)(1)(H) or (I), it suspends that person’s driver’s

license.

       42.       If a person never had a valid driver’s license, the Department creates a license

number for that person and then “suspends” that “license.”

       43.       The Department ostensibly provides written notice to the licensee giving 30 days

to request a hearing, but as alleged below in the cases of the named Plaintiffs, this notice fre-

quently fails to reach the license-holders.




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       44.         Although the Statute merely “authorize[s]” such suspension, it is the policy and

practice of the Department, under Defendant Purkey, to effect suspensions immediately and au-

tomatically upon expiration of the 30 day period following the Department’s receipt of the

clerk’s notification of nonpayment. The Department, as a matter of policy and practice, conducts

no inquiry into and makes no individualized determination as to a license-holder’s ability to pay.

       45.         Because they do not receive notice, many people regularly drive on the roads and

highways of Tennessee without knowing that they may be committing an offense for which they

could be subject to arrest, prosecution, and incarceration.

       46.         In any event, even when the Department provides notice, the putative hearing is

limited to whether there was a clerical or technical error in the records received by the Depart-

ment, not whether, as the Constitution requires, the nonpayment was willful.

       47.         “Error in the records received by the Department” is the only basis for a hearing

provided by the Statute. The Statute does not offer the opportunity to be heard on ability to pay

Traffic Debt.

       48.         The Department has a policy and practice of not offering hearings on the issue of

ability to pay, and of not holding such hearings even if they are requested.

       49.         The Statute allows for a person whose license was suspended under subsection

(a)(1)(H) to apply to the court for a restricted license. However, the restricted license provisions

are constitutionally inadequate because:

             (a)     The restricted license is valid only for going to and from work at the per-
                     son’s “regular place of employment.”
             (b)     As a condition of receiving the restricted license, a person must make
                     payments “calculated to fully pay the moneys owing.” The statute does not
                     require that the payments be affordable.
             (c)     People who are unemployed and searching for work, do not work, or who
                     work but do not earn enough to make payments, cannot obtain or benefit
                     from a restricted license.


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             (d)      The statute mandates that failure to make timely payments shall result in
                      suspension of the restricted license, without inquiry into a person’s ability
                      to pay or whether the person had a good reason for missing the payment.
             (e)      The statute allows the court to issue restricted licenses only one time per
                      person. If a person’s restricted license is suspended because of a missed
                      payment, that person may not ever obtain a restricted license again.

Tenn. Code Ann. § 55-50-502(j).

       50.         Restricted licenses are also largely unavailable. As a matter of policy and practice,

neither the Department under Defendant Purkey, nor the Counties under Defendants Moss and

Harrell, nor the municipalities under Defendants Linville and Gaskill, inform Traffic Debtors of

the existence of restricted licenses under section 55-50-502(j), and the Clerk Defendants affirma-

tively tell Traffic Debtors that they must pay Traffic Debt in full in order to regain their licenses.

       51.         Restricted licenses are not available for suspensions under subsection (a)(1)(I).

       52.         Regardless of whether suspension is effected under subsection (a)(1)(H) or (I), the

Department never provides a notice that offers the opportunity for a determination of ability to

pay prior to or after suspension, and in no case is such a determination ever made.

       Payment Plans for Traffic Debt

       53.         Payment plans for Traffic Debt are offered in only a few of Tennessee’s 95 coun-

ties and even fewer municipalities. The vast majority of counties and municipalities refuse partial

payment toward Traffic Debt and demand payment in full.

       54.         Tennessee law provides that people with Traffic Debt “subject to the approval of

the court, may pay any local fines or costs, arising from the convictions or failure to appear in

any court, by establishing a payment plan with the local court or the court clerk of the jurisdic-

tion.” Tenn. Code Ann. § 55-50-502(d)(2); see also id. § 55-50-303(d).




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         55.   The Department may reinstate a person’s driving privileges upon receiving notice

that the license-holder has entered into a payment plan and meets all other requirements for rein-

statement. §§ 55-50-303(d)(2); 55-50-502(d)(3).

         56.   However, only Shelby County is required by statute to offer payment plans prior

to suspension. Other counties may, at best, offer payment plans at their discretion, but the vast

majority have not offered any. In 94 of Tennessee’s 95 counties, pre-suspension payment plans

are offered, if at all, only haphazardly. Outside of Shelby County, therefore, most people can en-

ter into payment plans only after their license is suspended and they have already incurred a

mandatory reinstatement fee.

         57.   These counties are not required to offer post-suspension payment plans.

         58.   Defendant Moss, in her official capacity as Circuit Court Clerk for Wilson Coun-

ty, has responsibility for deciding whether to offer payment plans for Traffic Debt in Wilson

County General Sessions Court and in any other Court for which Defendant Moss is Clerk.

         59.   Defendant Moss (or her predecessor in office) has promulgated and continues to

enforce a policy under which the Wilson County General Sessions Court offers payment plans

for violations of § 55-50-504 (driving while license cancelled, suspended, or revoked) but not for

any violations of § 55-8-103 (rules of the road).

         60.   Defendant Harrell, in her official capacity as Circuit Court Clerk for Rutherford

County, has responsibility for deciding whether to offer payment plans for Traffic Debt in Ruth-

erford County General Sessions Court and in any other Court for which Defendant Harrell is

Clerk.

         61.   Defendant Harrell (or her predecessor in office) has promulgated and continues to

enforce a policy under which the Rutherford County General Sessions Court does not offer pay-




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ment plans for Traffic Debt. Defendant Harrell does offer payment plans under § 40-24-105(b),

but the minimum payment is $50 per month.

         62.   Bradley, Hamblen, Hamilton, Jefferson, Madison, Maury, Sumner, Sullivan,

Washington, and Williamson Counties do not offer payment plans for Traffic Debt.

         63.   Municipalities are likewise not required by state law to offer post-suspension

payment plans and, on information and belief, few municipalities do so.

         64.   Defendant Linville, in his official capacity as Clerk of the Lebanon City Court,

has responsibility for deciding whether to offer payment plans for Traffic Debt in Lebanon City

Court.

         65.   Defendant Linville, on behalf of the City of Lebanon, has promulgated and con-

tinues to enforce a policy under which people must pay Traffic Debt in full. Defendant Linville

and the City of Lebanon do not offer payment plans for Traffic Debt.

         66.   Defendant Gaskill, in her official capacity as Clerk of the Mt. Juliet Municipal

Court, has responsibility for deciding whether to offer payment plans for Traffic Debt in the Mt.

Juliet City Court.

         67.   Defendant Gaskill, on behalf of the City of Mt. Juliet, has promulgated and con-

tinues to enforce a policy under which people must pay Traffic Debt in full. Defendant Gaskill

and the City of Mt. Juliet do not offer payment plans for Traffic Debt.

         68.   Tennessee law does not require that payment plans be affordable to the license-

holder when offered. § 55-50-502(d)(4); 55-50-502(d)(3).

         69.   Tennessee law does not require notice to the license-holder of the existence or

terms of a potential payment plan.




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       70.       Whether a given county or municipality offers payment plans is not a matter

knowable from official sources of law.

       71.       Under Tennessee law, if a person misses a single payment on a payment plan, the

clerk must inform the Department. The Department then sends a written notice of proposed sus-

pension to the licensee and allows the license-holder 30 days to request a hearing “to show that

the person has, in fact, complied with” the payment plan.

       72.       Tennessee law mandates that the Department suspend the license of anyone who

misses a single payment no matter the reason for missing the payment.

       73.       License-holders are never permitted to be heard on the question whether they are

able to afford their payment plans.

       74.       Any person who has defaulted once on the payment plan is ineligible to partici-

pate in the payment plan ever again. It is a “one strike and you’re out” plan.

       75.       A person who is too poor to pay anything at all cannot, in practice, benefit from a

payment plan, even if one is theoretically offered.

       Reinstatement of Driver’s Licenses

       76.       Once a driver’s license is suspended, it must be reinstated in order for the license-

holder to regain legal authorization to drive.

       77.       This “reinstatement” requirement applies even to those who never possessed a

valid license.

       78.       A person whose license is suspended may request from the Department a docu-

ment called “Reinstatement Requirements” that lists all of the things that person must do in order

to obtain reinstatement of driving privileges.




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         79.   For people whose licenses were suspended for nonpayment of Traffic Debt, the

Reinstatement Requirements document states that the person must “Submit certification from the

court(s) where convicted that all fines and costs have been paid for the following list of viola-

tions” or “Submit verification from the court(s) that the following list of ticket(s) has been satis-

fied.”

         80.   The Reinstatement Requirements document does not provide information about

alternatives for people who are too poor to pay Traffic Debt, nor does it offer the opportunity to

be heard on ability to pay Traffic Debt.

         81.   Some indigent people whose licenses are suspended for nonpayment of Traffic

Debt also have license suspensions or revocations on other grounds, such as under § 40-24-105

for nonpayment of criminal court fines, costs, and litigation tax (“Court Debt”) (as with Plaintiff

Gibbs) or under § 55-12-115 for failure to show proof of insurance (as with Plaintiff Robinson).

         82.   Suspension of a license for nonpayment of Traffic Debt is, for thousands of Ten-

nessee license-holders, an insurmountable hurdle.

               a. Even if such license-holders have additional suspensions on other grounds, for

                   the indigent, the nonpayment suspension is often the most significant barrier

                   to reinstatement of a license.

               b. Conversely, resolution of a suspension for nonpayment of Traffic Debt will

                   often provide a foundation for a driver to be able to resolve his or her other

                   barriers to reinstatement and, thus, regain his or her driver’s license.

         83.   Regardless of any additional suspensions that may exist, Plaintiffs and putative

class members face indefinite license suspension so long as Defendants maintain their current

policies of demanding payment without consideration of Plaintiffs’ poverty and inability to pay.




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       84.     The Department maintains certified driver records (“Driver Record”) for each

person for whom a driver’s license number has been issued.

       85.     For drivers who have, or have had, multiple suspensions and/or revocations, the

Driver Record identifies and tracks each one separately.

       86.     The Department has procedures, which it exercises, to “remove” a given suspen-

sion or revocation when the requirements for such removal have been met, and it does so regard-

less of whether other suspensions or revocations remain on the Driver Record.

       87.     To obtain reinstatement of a driver’s license, an individual must pay the Depart-

ment a reinstatement fee in addition to the Traffic Debt. The reinstatement fee can amount to

hundreds of dollars or more.

       88.     Pursuant to a regulation issued under the auspices of Defendant Purkey, the De-

partment offers payment plans for people who owe more than $200 in reinstatement fees, but

these payment plans are themselves out of reach for indigent Tennesseans.

       89.     The only payment plans offered by the Department for reinstatement fees require

a down payment of $200 and a processing fee of $25. Payments must be made in the amount of

at least $300 every quarter, and the entire amount must be paid within two years. Debtors who

default on such payment plans for any reason—including unexpected financial hardship—lose

their driver’s licenses and can never enter into another payment plan again. See generally Tenn.

Comp. R. & Regs. 1340-2-5.

       90.     For indigent Tennesseans, reinstatement fees are yet another barrier to regaining

legal authorization to drive.




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       Consequences of Tennessee’s Driver’s License Suspension Law

       91.     Since 2012, at least 250,000 driver’s licenses have been suspended for nonpay-

ment of Traffic Debt.

       92.     In most such cases, the drivers did not willfully choose not to pay Traffic Debt;

they were unable to pay because they were indigent.

       93.     The available data strongly suggests that people who can pay their Traffic Debt

do pay their Traffic Debt.

       94.     Across Tennessee, there is a strong, positive, and statistically significant correla-

tion between the number of poor people in a county and the number of suspensions in that coun-

ty. Controlling for county size, counties with higher poverty rates have significantly more sus-

pensions than do counties with lower poverty rates.

       95.     Without a driver’s license, it is extraordinarily difficult to find or keep employ-

ment in Tennessee. The law thus creates a vicious cycle: people lose their driver’s licenses be-

cause they cannot pay Traffic Debt; they cannot maintain or obtain jobs because they do not have

driver’s licenses; and they cannot pay Traffic Debt because they do not have jobs.

       96.     The need for Tennessee residents to drive in order to be able to work is illustrated

by Census Bureau data showing the percentage of people working in various metropolitan areas

in Tennessee who drive to work:

               a. 92.5% of the people who work in the Chattanooga metro area metro area drive

                   to work.

               b. 94.6% of the people who work in the Clarksville metro area drive to work.

               c. 93.1% of the people who work in the Cleveland metro area drive to work.

               d. 93.4% of the people who work in the Jackson metro area drive to work.




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               e. 92.5% of the people who work in the Johnson City metro area drive to work.

               f. 93.8% of the people who work in the Knoxville metro area drive to work.

               g. 93.5% of the people who work in the Memphis metro area drive to work.

               h. 92.4% of the people who work in the Nashville metro area drive to work.

       97.     A driver’s license is required for many professions, even those that are not direct-

ly related to driving. For example, the following professions often require a driver’s license as a

condition of employment: automotive technician, cable installation technician, caregiver, con-

struction worker, housecleaner, HVAC technician, landscaping crew member, maintenance

worker, plumber and plumber’s helper, pressure washer, truck washer, unarmed security officer,

and warehouse worker.

       98.     In much of Tennessee, there is no public transportation at all. And even in cities

with some public transportation, many people still cannot use it for work. According to a Brook-

ings Institution analysis, in Memphis, Nashville, and Knoxville, approximately 75% of jobs are

not reasonably accessible by public transportation. And in Nashville, Knoxville, and Chattanoo-

ga, more than two thirds of working-age residents lack access to public transportation.

       99.     Many indigent people whose licenses have been suspended still need to drive in

order to get to work, school, or medical appointments.

       100.    Tennessee’s license suspension statute therefore presents impoverished people

with the impossible choice of driving illegally or failing to meet the basic necessities of life and

survival for themselves and their families.

       101.    Each year, thousands of low-income Tennesseans are stopped for minor traffic vi-

olations and then arrested for driving on suspended licenses. For the first offense, driving on a

suspended license is a Class B Misdemeanor, punishable by up to six months in jail and a fine of




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up to $500, or both. Tenn. Code Ann. §§ 40-35-111(e)(2); 55-50-504(a)(1).2 For second and sub-

sequent offenses, driving on a suspended license is a Class A Misdemeanor, punishable by up to

11 months and 29 days in jail, a fine of up to $2,500, or both. Tenn. Code Ann. §§ 40-35-

111(e)(2); 55-50-504(a)(2).

          102.   The subsequent charges generate their own fines and costs, making it less likely

that these individuals will ever be able to get their driver’s licenses back. Some people even

serve jail time for driving on suspended licenses—punishments to which they never would have

been subject had the Department considered their ability to pay prior to suspending their driver’s

licenses.

          103.   Local courthouses throughout the State of Tennessee now have entire dockets de-

voted to processing the cases of people arrested and charged with driving on suspended licenses.

For example, in Hamilton County, many of the daily dockets in General Sessions courts consist

of driving cases, including a large number related to driving on suspended or revoked licenses.

During a single seven-day period in July 2017, Hamilton County General Sessions Court had

over 100 cases in which people were charged with driving without lawful licenses.3

          104.   The Statute and Defendants’ practices and policies in connection with it present

an ongoing and future threat to Plaintiffs and countless indigent people across the state of Ten-

nessee.

                 a. Traffic stops, and citations for traffic violations, are a part of everyday life na-

                     tionwide, but particularly in Tennessee.



2
  In 2016, Tenn. Code Ann. § 55-50-504(a)(1) was amended to delete the provision that conviction of driving on
suspended requires extension of the suspension for a like period (eff. Jan. 1, 2017).
3
  See Sessions Court - Criminal Division Dockets, General Government of Hamilton County (2017),
www.hamiltontn.gov/courts/sessions/dockets/CriminalDockets.aspx (last visited July 22, 2017).



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          b. Entirely law-abiding individuals are at risk of being stopped for traffic viola-

             tions that they may not even know they have committed.

          c. Such citations almost invariably lead to Traffic Debt—and, for those who are

             neither provided notice nor afforded the opportunity to be heard on their abil-

             ity to pay such Debt, such violations, under the current unconstitutional

             scheme, lead to suspension

          d. Nationwide, there are about 100 traffic stops per year for each 1,000 driving-

             age individuals, or about 10%. The percentage of stops per 1,000 individuals

             who actually drive is higher, because not all driving-age individuals drive.

          e. In the metropolitan Nashville area in the period 2011 to 2015, there were near-

             ly two million traffic stops, about 786 per 1,000 driving-age residents of the

             area.

          f. Based on Tennessee Highway Patrol traffic stop data, a comparison of the

             number of suspensions reported as between the County and its municipalities

             for Rutherford and Wilson Counties, and some limited data produced in dis-

             covery in this action, Plaintiffs estimate that there are each year about 400

             traffic stops per 1,000 driving-age residents in each of Wilson and Rutherford

             Counties.

          g. The likelihood of repeat suspensions under the current, unconstitutional

             scheme is high. Data provided by the Department indicate that the great ma-

             jority of people whose licenses are suspended pursuant to the Statute are sus-

             pended more than once over a four-year period, indicating that the risk of be-

             ing repeatedly subject to the Statute is real and immediate.




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       Discriminatory Debt Collection

       105.    Judgment debtors in private civil actions in Tennessee are not subject to the sus-

pension of their driver’s licenses if they are too poor to pay.

       106.    The Department likewise cannot take driver’s licenses from people who owe

money for welfare overpayments or income tax debts.

       107.    People who have failed to pay court-ordered child support could be subject to

deprivation of their driver’s licenses, but only after the State has provided robust procedural pro-

tections, including notice and the opportunity for an ability-to-pay hearing.

       108.    Even with respect to child support, withholdings from the debtor’s income “shall

not exceed fifty percent (50%) of the employee’s income after FICA, withholding taxes, and a

health insurance premium that covers the child, are deducted.” Tenn. Code Ann. § 36-5-501.

       109.    Federal and state laws impose other requirements exempting a person’s basic sur-

vival resources from garnishment or attachment by any creditor, including the state. See, e.g.,

Social Security Act, 42 U.S.C. § 407 (West 2017) (barring federal disability payments from be-

ing subject to “execution, levy, attachment, garnishment or other legal process,” including col-

lection by the state); Tenn. Code Ann. § 26-2-105(a), -111(1) (noting that state, federal, and local

pension and disability benefits “shall be exempt from execution, seizure or attachment”); Tenn.

Code Ann. § 26-2-104 (exempting clothing, family portraits, family Bibles, and school books

from execution, seizure or attachment); id. at §§ 26-2-106, -108 (except for child support or ali-

mony, wage garnishments may not exceed the lessor of: 25% of the debtor’s disposal earnings,

or the amount by which the disposal earnings exceed 30 times the federal minimum wage).




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          110.   Under the Statute, there is no requirement that payments toward Traffic Debt be

limited to amounts in excess of the amounts that would be exempt from execution and/or gar-

nishment.

          111.   Only people who owe criminal and Traffic Debt to the State or its counties or

municipalities are singled out for the harsh and discriminatory treatment described in this Com-

plaint.

The Individual Plaintiffs

          Fred Robinson – Wilson County

          112.   Fred Robinson is 32 years old and lives in Murfreesboro. Mr. Robinson lives with

serious physical disabilities: ulcerative colitis and liver cirrhosis. He also suffers from severe in-

ternal bleeding due to chronic stomach ulcers. He has a regular course of approximately 20 pre-

scription medications for his illnesses. These illnesses cause Mr. Robinson constant pain.

          113.   Mr. Robinson is unable to work due to his chronic illnesses. His sole source of in-

come is Social Security Disability benefits of $759 per month. That amount is well below the

federal poverty level for a family of one in Tennessee and about $240 less than Mr. Robinson’s

own basic and necessary monthly expenses. He depends on his family, when they can help, to

make up the difference. Even with this assistance, Mr. Robinson cannot afford to purchase all of

his prescribed medications and must forgo taking some of them even though they are extremely

important for his health.

          114.   Mr. Robinson’s ulcerative colitis and cirrhosis require frequent travel to a gastro-

enterologist in Nashville. The only practicable way to get from his home in Murfreesboro to his

doctor’s office in Nashville, over 30 miles away, is to drive.

          115.   Due to the severity of his liver disease, Mr. Robinson’s physician has recom-

mended that he start consultation for a liver transplant with specialists at the University of Ten-


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nessee in Memphis. Mr. Robinson will need to drive from Murfreesboro to Memphis, about 250

miles away, for such appointments. Missing appointments—in either Nashville or Memphis—

will deny him critical medical care.

       116.    On June 24, 2016, while driving his sister’s car in Wilson County, Tennessee, Mr.

Robinson received misdemeanor traffic citations for speeding and failing to provide evidence of

financial responsibility, with a court date scheduled for August 1, 2016. Those citations carried

$441 in Traffic Debt.

       117.    Mr. Robinson could not pay the Traffic Debt because of his indigence.

       118.    Mr. Robinson intended to go to court on August 1, but he missed that court date

because of his medical condition.

       119.    On August 16, 2016, Defendant Moss’s office sent notification to the Department

that Mr. Robinson had failed to appear for his court date.

       120.    On August 17, 2016, in response to the notification received from Defendant

Moss, the Department mailed Mr. Robinson a notice stating that his driver’s license would be

suspended unless he paid the Traffic Debt within 30 days. Consistent with its policy and practice,

the Department’s notice neither requested information about Mr. Robinson’s ability to pay nor

stated that he could contest the suspension based on inability to pay the Traffic Debt.

       121.    The notice stated that Mr. Robinson could request a hearing on the proposed sus-

pension, but that the “scope of the hearing would be limited to the issue of whether or not the

citation has been satisfied prior to the proposed date of suspension.”

       122.    Mr. Robinson could not pay the Traffic Debt because of his indigence.




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         123.     On October 20, 2016, Mr. Robinson appeared with counsel in the Wilson County

General Sessions Court and pled guilty to speeding and failing to provide evidence of financial

responsibility.

         124.     The Wilson County General Sessions Court assessed $169 for speeding and $272

for driving without valid insurance, for a total Traffic Debt of $441.

         125.     Of the total Traffic Debt of $441, the state litigation tax, along with an additional

$60, accrued to the State under § 55-10-303. The remaining amount accrued to Defendant Wil-

son County.

         126.     That same day, Mr. Robinson, through counsel, requested a payment plan from

the Wilson County General Sessions Clerk’s Office. The Wilson County General Sessions

Clerk’s Office is overseen by Defendant Moss.

         127.     Defendant Moss has a policy and practice of not allowing payment plans or par-

tial payments for traffic violations issued under § 55-8-103 in any of the Courts for which she is

Clerk.

         128.     Consistent with that policy and practice, on October 20, 2016, the Clerk, under

Defendant Moss, denied Mr. Robinson’s request for a payment plan.

         129.     Because Mr. Robinson could not pay the Traffic Debt in one lump sum, he could

not pay it at all.

         130.     On October 23, 2016, the Department removed the suspension for failure to ap-

pear.

         131.     Sometime before November 23, 2016, the Wilson County Court Clerk’s office,

acting pursuant to its Notification Policy, notified the Department that Mr. Robinson had not

paid Traffic Debt. Pursuant to its policy and practice, the Clerk did not consider Mr. Robinson’s




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ability to pay in connection with sending the notification of nonpayment. The Clerk did not offer

Mr. Robinson the opportunity for an ability to pay hearing and would have refused to give him

one if he had requested it.

          132.   On November 23, 2016, the Department suspended Mr. Robinson’s license pur-

suant to § 55-12-115 based on his conviction for failing to show evidence of financial responsi-

bility.

          133.   On December 23, 2016, the Department separately suspended Mr. Robinson’s li-

cense for nonpayment of the Wilson County Traffic Debt.

          134.   Mr. Robinson did not receive notice from the Department of these suspensions.

          135.   The Department did not consider Mr. Robinson’s ability to pay in connection with

the suspension for nonpayment of Traffic Debt. It did not offer Mr. Robinson the opportunity for

an ability to pay hearing and would have refused to give him one if he had requested it.

          136.   The only way for Mr. Robinson to remove the suspension for nonpayment was to

make a lump sum payment of $441 to Defendant Moss, in her capacity as Wilson County Gen-

eral Sessions Clerk, after which her office would notify the Department that the payment had

been made.

          137.   Mr. Robinson simply could not afford to make that payment. For this reason, the

Wilson County Traffic Debt suspension formed an absolute barrier to Mr. Robinson’s ability to

regain his driver’s license.

          138.   On top of the Traffic Debt owed to Wilson County, the Department imposed a

separate and additional $323 reinstatement fee. Mr. Robinson could not afford to pay $323 in

one lump sum, nor could he afford the $200 initial payment and $25 administrative fee to enter




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into the Department’s payment plan for reinstatement fees. The reinstatement fee formed yet an-

other insurmountable barrier to reinstating his driver’s license.

       139.    Mr. Robinson must see doctors frequently—for his primary care, liver care, and

gastrointestinal care—including his liver doctor in Nashville every other week. Without a li-

cense, Mr. Robinson relied on his mother or sister to drive him to and from his doctor’s ap-

pointments, including those in other cities, but they were not always available to drive him. Mr.

Robinson’s sister works and has children to take care of, and she could not always take time

away from work and family responsibilities to drive Mr. Robinson to the doctor. Mr. Robinson’s

mother is and was a full-time caretaker for his father who has cancer, needs help at home, and

himself has many doctor’s appointments.

       140.    For this reason, Mr. Robinson’s family members could not always drive him to

Nashville, nor could or can they drive him to Memphis. They can, however, loan him a car so

that he can drive himself to Nashville or Memphis.

       141.    When his family members could not drive him to the doctor, Mr. Robinson

missed his appointments, even when they were very important to his health. For example, be-

cause of a lack of transportation, Mr. Robinson recently missed two appointments with one of his

doctors, including a critical ultrasound of the tubes between his liver and heart to detect block-

age, which can result in severe internal bleeding. Mr. Robinson has experienced such blockages

three times in the past, and each time he vomited blood, experienced great pain, and was hospi-

talized for about a week. Mr. Robinson was unable to reschedule the ultrasound while he lacked

transportation to his doctor’s office.

       142.    Subsequent to the filing of this case, this Court entered a temporary restraining

order requiring the Department to reinstate Mr. Robinson’s driver’s license without the necessity




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of his paying Traffic Debt or a reinstatement fee as a prerequisite. (With the Traffic Debt and

reinstatement fee barriers removed, Mr. Robinson was able to address the insurance barrier to the

Department’s satisfaction, which was the last hurdle preventing him from regaining his driving

privileges.)

        143.    Since regaining his driver’s license, Mr. Robinson has been able to see his doctors

regularly. Now that he has a valid driver’s license, Mr. Robinson frequently drives in Wilson

County in order to access his doctors, obtain medications from the pharmacy, and take care of

other daily needs.

        144.    However, this Court granted Mr. Robinson only temporary relief. Mr. Robinson

still cannot pay his outstanding Traffic Debt, and certainly not in one lump sum. Wilson County

continues actively to seek collection of the Traffic Debt. Should the temporary relief expire, Mr.

Robinson will face the exact same problem all over again – he will again be without a valid driv-

er’s license.

        145.    If Mr. Robinson receives another traffic citation in Wilson County, it would carry

additional Traffic Debt that he would not be able to pay in one lump sum, and he would then be

subject to the same unconstitutional policies and practices employed by Defendants Purkey,

Moss, and Wilson County as described above, which would once again result in Mr. Robinson’s

license being suspended without consideration of his ability to pay and without the procedural

protections mandated by the Due Process Clause.

        Ashley Sprague – Mt. Juliet and Lebanon

        146.    Ashley Sprague is 26 years old and a resident of Lebanon, Tennessee. Ms. Spra-

gue is a single mother of five children, one of whom lives with her and four of whom live with

their grandparents, over 30 miles away; Ms. Sprague cannot afford to care for them.




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       147.    In April 2015, Defendant City of Mt. Juliet issued a municipal ordinance violation

to Ms. Sprague for speeding and failure to provide evidence of financial responsibility.

       148.    The Mt. Juliet Municipal Court is located inside the City of Mt. Juliet Police De-

partment. The clerks of the Mt. Juliet Municipal Court, including Defendant Gaskill, are em-

ployees of the City of Mt. Juliet. The revenue collected from the violation of municipal ordi-

nances is paid to the City of Mt. Juliet.

       149.    The maximum fine for each violation was $50, but with costs and litigation taxes

the total amount was $477.50. All of this amount, except the state litigation tax, accrues to De-

fendant City of Mt. Juliet.

       150.    At the time she received the violation, Ms. Sprague was working as a server at

Waffle House; she earned $2.13/hour plus tips. Her basic life expenses far exceeded her income.

She could not afford to pay the Traffic Debt.

       151.    In July 2015, pursuant to its Notification Policy, the Mt. Juliet Municipal Court

Clerk under Defendant Gaskill notified the Department that Ms. Sprague had not paid Traffic

Debt. Pursuant to its policy and practice, the Clerk did not consider Ms. Sprague’s ability to pay

in connection with sending this notification. The Clerk did not offer Ms. Sprague the opportunity

for an ability to pay hearing and would have refused to give her one if she had requested it.

       152.    In September 2015, upon notification from Defendant City of Mt. Juliet and De-

fendant Gaskill (or her predecessor), the Department suspended Ms. Sprague’s license for non-

payment of the Traffic Debt. Consistent with its policy and practice, the Department never in-

quired into or considered Ms. Sprague’s ability to pay the Mt. Juliet ticket, nor did it offer Ms.

Sprague the opportunity to be heard on this issue.




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          153.   Ms. Sprague never received any notice that her license would be suspended or

that it had been suspended.

          154.   At the time, Ms. Sprague was residing at the address on file with the Department,

and she regularly received mail at that address.

          155.   Ms. Sprague was unemployed for a short time thereafter. In February 2016, she

began working part-time at a Speedway service station. At Speedway, Ms. Sprague earned little

more than she had as a server at Waffle House, and still not enough to pay for basic living ex-

penses.

          156.   In March 2016, Defendant City of Lebanon issued a municipal ordinance viola-

tion to Ms. Sprague for failure to provide evidence of financial responsibility, in the amount of

$224.50. The officer did not issue Ms. Sprague a citation for driving on a suspended license, nor

did he inform Ms. Sprague of any license suspension. Ms. Sprague could not afford to pay the

$224.50 violation.

          157.   In May 2016, Defendant City of Lebanon issued municipal ordinance violations

to Ms. Sprague for expired registration and failure to provide evidence of financial responsibil-

ity, along with a misdemeanor citation for driving on a suspended license. The total amount of

these violations was $244. This was the first time that Ms. Sprague learned that her license had

been suspended.

          158.   As of the end of May 2016, the collective sum of Traffic Debt imposed on Ms.

Sprague was $946, due about half each to Defendants City of Mt. Juliet and City of Lebanon.

          159.   In July 2016, Ms. Sprague attempted to pay $80 towards her Traffic Debt to De-

fendant City of Lebanon, but the Lebanon Municipal Court Clerk, under Defendant Linville, re-




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fused to take a partial payment and stated that Ms. Sprague must pay the outstanding debt of

$946 in two separate lump sums of nearly $500 each in order to get her license back.

       160.    On July 25, 2016, Ms. Sprague appeared in the Wilson County General Sessions

Court and entered into a conditional guilty plea as to the driving while suspended charge and set

a new date for March 27, 2017.

       161.    Under the terms of the conditional guilty plea, if Ms. Sprague could reinstate her

license by the time of the next court date on March 27, 2017, the charges against her would be

dismissed.

       162.    On August 16 and September 16, 2016, pursuant to its Notification Policy, the

Lebanon Municipal Court under Defendant Linville notified the Department that Ms. Sprague

had not paid Traffic Debt. Pursuant to its policy and practice, the Clerk did not consider Ms.

Sprague’s ability to pay in connection with sending this notification. The Clerk did not offer Ms.

Sprague the opportunity for an ability to pay hearing and would have refused to give her one if

she had requested it.

       163.    The Lebanon Municipal Court is located inside the City of Lebanon Police De-

partment. The revenue collected from the violation of municipal ordinances is paid to the City of

Lebanon.

       164.    On September 15 and October 17, 2016, pursuant to the notifications from the

City of Lebanon, the Department suspended Ms. Sprague’s license because of nonpayment of the

Traffic Debt owed to the City of Lebanon. Again, consistent with its policy and practice, the De-

partment never inquired into or considered Ms. Sprague’s ability to pay the Lebanon tickets, nor

did it provide Ms. Sprague the opportunity to be heard on that issue. Each of these two new sus-




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pensions imposed additional procedural requirements, reinstatement fees, and other hurdles to

regaining a valid driver’s license.

        165.   All suspensions of Ms. Sprague’s driver’s license by Defendant Purkey have been

based on nonpayment of Traffic Debt.

        166.   Ms. Sprague’s Driver Record, obtained from the Department and reflecting all of-

ficial license activity for the past three years, reflects no suspension for failure to provide evi-

dence of financial responsibility.

        167.   Defendant Purkey has not suspended Ms. Sprague’s driver’s license pursuant to §

55-12-115 (suspension of driver’s license “[u]pon receipt by the commissioner of a record of

conviction for failing to provide evidence of financial responsibility”).

        168.   A letter to Ms. Sprague from the Department entitled “Reinstatement Require-

ments,” dated February 25, 2017, reflects that the only basis for suspension of Ms. Sprague’s

driver’s license at that time was unpaid Traffic Debt.

        169.   The Reinstatement Requirements letter states that in order to reinstate her driving

privileges, Ms. Sprague must “submit verification from the court(s) that the following list of

ticket(s) has been satisfied” and pay a reinstatement fee of $270. The letter does not require Ms.

Sprague to provide proof of financial responsibility, nor does it direct her to obtain SR-22 insur-

ance.

        170.   The Reinstatement Requirements letter does not provide information about alter-

natives for people who are too poor to pay Traffic Debt, nor does it offer the opportunity to be

heard on ability to pay Traffic Debt.

        171.   In January 2017, Ms. Sprague called the two phone numbers listed on the Rein-

statement Requirements letter, in Mt. Juliet and Lebanon, and asked if partial payments toward




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Traffic Debt would be accepted. Both denied Ms. Sprague a payment plan and told Ms. Sprague

that payments had to be made in full.

       172.    Because Ms. Sprague could not pay each Traffic Debt in a lump sum, she could

not pay it all. Ms. Sprague therefore could not reinstate her license prior to her March 27, 2017,

court date.

       173.    On March 27, 2017, Ms. Sprague pled guilty to driving on a suspended license

and was given until April 3, 2017, to enter into a payment plan with the Wilson County General

Sessions Court Clerk for the fines, court costs, and litigation tax arising out of that charge, which

amounted to $439.50.

       174.    On April 3, 2017, Ms. Sprague entered into a payment plan for the $439.50. So

far, Ms. Sprague has managed to make minimal payments on this plan. That payment plan, how-

ever, does not include the $946 owed on the Mt. Juliet and Lebanon tickets.

       175.    Because Ms. Sprague could not make partial payments on the Mt. Juliet and Leb-

anon Traffic Debt, it formed an absolute barrier to her ability ever to regain her license.

       176.    Throughout 2017, both Mt. Juliet and Lebanon made efforts collect Ms. Sprague’s

Traffic Debt from her.

       177.    Ms. Sprague obtained a second “Reinstatement Requirements” letter on Septem-

ber 13, 2017. In addition to stating that Ms. Sprague must satisfy the Mt. Juliet and Lebanon

tickets, this second letter states that in order to obtain her driver’s license Ms. Sprague must

“[s]ubmit certification from the court(s) where convicted that all fines and costs have been paid”

for the Wilson County driving while suspended charge, obtain SR-22 insurance, and pay a rein-

statement fee of $388.




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        178.    By this time, Ms. Sprague’s earning capacity had greatly diminished as a result of

the loss of her driver’s license. She could not afford to pay the $388 reinstatement fee, nor could

she afford the $200 initial payment and $25 administrative fee to enter into the Department’s

payment plan for reinstatement fees. The reinstatement fee formed yet another insurmountable

barrier to reinstating her driver’s license.

        179.    The loss of her driver’s license caused Ms. Sprague’s economic circumstances to

decline precipitously.

        180.    Because she could not drive, she could not maintain basic employment, let alone

the higher-paying job she would need to repay Traffic Debt and support her family.

        181.    Without a driver’s license, Ms. Sprague could not maintain a job for more than a

few months at a time because she did not have affordable, reliable transportation to work.

        182.    After losing her driver’s license, Ms. Sprague worked short stints at two gas sta-

tions and a Waffle House, each about 10 miles from her home. She lost these jobs because she

did not have adequate transportation. At her last Waffle House position, Ms. Sprague’s manager

told her that she could return to work there if she could obtain her license and reliably drive to

work.

        183.    Because she could not drive, Ms. Sprague could only work for her parents, who

have a cleaning business. Ms. Sprague’s parents drove her to and from work, and she did office

work for them. Ms. Sprague took home only $150 per week, which was even less than she had

earned at previous jobs.

        184.    While Ms. Sprague once had the ability to make partial payments on the Mt. Juliet

and Lebanon tickets, at the time of filing of the instant lawsuit she could not make any payments

at all because she earned so little and already had to make partial payments toward the driving




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while suspended charge (a charge she never would have incurred had her initial suspension com-

plied with constitutional requirements).

       185.    Ms. Sprague wants to go back to school and learn a trade so that she can get a

higher paying job and better take care of her family. The educational opportunity she seeks is in

Nashville, more than 30 miles from where she lives, and Ms. Sprague cannot commute to Nash-

ville without driving.

       186.    Because she cannot obtain and maintain a higher paying job, she cannot afford a

larger apartment and cannot afford to support her family. Her family thus remains separated,

with her children living in separate homes.

       187.    Subsequent to the filing of this lawsuit, this Court entered a temporary restraining

order requiring the Department to reinstate Ms. Sprague’s driver’s license without the necessity

of her paying Traffic Debt or a reinstatement fee as a prerequisite. (Ms. Sprague was able to ob-

tain SR-22 insurance as required by the Department.)

       188.    Since regaining her driver’s license, Ms. Sprague has found a new job at another

Waffle House, where she earns more than she did working for her parents, but not yet enough to

pay Traffic Debt in one lump sum. Ms. Sprague has been able to see her children more often now

that she can drive, and she visits them regularly.

       189.    However, this Court granted Ms. Sprague only temporary relief. Ms. Sprague still

cannot pay her outstanding Traffic Debt in one lump sum.

       190.    Defendants Cities of Mt. Juliet and Lebanon, pursuant to the policies and practic-

es of their respective Defendant Clerks, continue to refuse to accept partial payment or a pay-

ment plan on the Traffic Debt, but yet they are actively seeking to collect Ms. Sprague’s Traffic




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Debt. Should the temporary relief expire, Ms. Sprague will face the exact same problem and will

again be without a valid driver’s license.

       191.    Now that she has a valid driver’s license, Ms. Sprague drives frequently through

Wilson County and the Cities of Mt. Juliet and Lebanon. She passes through these areas as she

commutes to work, in order to visit her children, to see her doctors, and to take care of other dai-

ly needs.

       192.    If Ms. Sprague receives another traffic citation in Wilson or Rutherford County,

or from the Cities of Mr. Juliet or Lebanon, she would not be able to pay the resulting Traffic

Debt in one lump sum and would then be subject to the same unconstitutional policies and prac-

tices employed by Defendants Purkey, Gaskill, Linville, and the Cities of Lebanon and Mt. Juli-

et, as described above, which would once again result in Ms. Sprague’s license being suspended

without consideration of her ability to pay and without the procedural protections mandated by

the Due Process Clause.

       Johnny Gibbs – Rutherford County

       193.    Johnny Gibbs is 36 years old and lives in Murfreesboro.

       194.    At the time of filing, Mr. Gibbs lived with his mother, ailing father, and sister in a

motel room, where they lived for over three years. After paying the weekly rent, the family had

very little money left at the end of each week. The family could not save the security deposit and

first month’s rent required for moving into a more affordable, stable residence. The family strug-

gles to meet basic needs; any loss of income could cause them to become homeless.

       195.    When Mr. Gibbs’s mother was in the hospital and unable to make her hours at

work, the family fell behind rent for two weeks. Only with the assistance of a charitable founda-

tion did the Gibbs family avoid immediate eviction.




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        196.    Subsequent to the filing of this case, the Gibbs household was evicted from their

motel room after falling too far behind on rent. Mr. Gibbs and his family were forced to live in a

car and tent.

        197.    Mr. Gibbs struggles to meet the basic necessities of life. The Gibbs family has, in

the past, gone entirely without food for as long as two days. Mr. Gibbs and his sister insist that

their parents eat before they do.

        198.    In 1999, Mr. Gibbs’s license was suspended until the age of 21 due to truancy

from school. In 2002, before he turned 21, Mr. Gibbs received a ticket in Rutherford County for

driving on a suspended license and incurred Traffic Debt of $404.50. At the time he was working

part-time in construction and did not earn enough money to pay the ticket.

        199.    After Mr. Gibbs turned 21, he went to the local Department of Motor Vehicles

(DMV) with his birth certificate and identification card and filled out paperwork to obtain a valid

driver’s license. However, DMV staff turned him away after determining that the Department’s

records still listed Mr. Gibbs’s status as suspended.

        200.    Mr. Gibbs never received notice from the Department or from Rutherford County

or Defendant Harrell (or her predecessor) of any license suspension related to the unpaid Traffic

Debt. He was never given an opportunity to be heard on his ability to pay, either by the Depart-

ment or by Rutherford County, prior to the Department’s suspension of his license for nonpay-

ment.

        201.    Mr. Gibbs served jail time and probation as a result of that ticket. In addition to

the $404.50 amount of the ticket itself, he was charged probation supervision fees and court fines

and fees; he made payments in increments toward the probation and court fees, but could not pay

the $404.50 ticket amount in one lump sum.




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       202.    Defendant Harrell (or her predecessor), consistent with Rutherford County’s poli-

cy and practice at the time, permitted Mr. Gibbs to make partial payments toward his other court

and probation debt, but not toward Traffic Debt.

       203.    In 2006, Mr. Gibbs received a second ticket for driving on a suspended license

and incurred Traffic Debt in the amount of $742.

       204.    Mr. Gibbs sought to make partial payments toward his Traffic Debt. At the time,

Mr. Gibbs had a steady job and could have afforded to make partial payments. Consistent with

the policy and practice of Defendant Rutherford County and its Court Clerk(s) at that time, he

was told that a payment plan was not an option for paying Traffic Debt. Mr. Gibbs never had

enough money to pay the ticket in one lump sum, so he could not pay it at all.

       205.    Mr. Gibbs also owes fines, costs, and litigation taxes (“Court Debt”) from sepa-

rate, unrelated criminal proceedings against him. In July 2017, his license was revoked pursuant

to Tenn. Code Ann. § 40-24-105(b) for nonpayment of that Court Debt. He is a member of the

putative class in Thomas v. Purkey, No. 3:17-cv-00005, pending in this Court.

       206.    On November 21, 2016, and September 7, 2017, Mr. Gibbs sought and obtained

“Reinstatement Requirements” letters from the Department. These letters state that in order to

reinstate his driving privileges, Mr. Gibbs must “[s]ubmit certification from the court(s) where

convicted that all fines and costs have been paid” for the Traffic Debt incurred in Rutherford

County. The second letter also states that Mr. Gibbs must “[s]ubmit verification from the court(s)

that all fines and costs have been satisfied” for a non-driving-related criminal charge.

       207.    The Reinstatement Requirements letters do not require Mr. Gibbs to provide proof

of financial responsibility, nor do they direct him to obtain SR-22 insurance.




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       208.    The Reinstatement Requirements letters do not provide information about alterna-

tives for people who are too poor to pay Traffic Debt, nor do they offer the opportunity to be

heard on ability to pay Traffic Debt.

       209.    Defendant Harrell’s current policy and practice either does not allow for payment

plans for Traffic Debt at all or permits payment plans with a $50 monthly minimum payment.

Mr. Gibbs cannot afford to pay $50 per month because he earns so little.

       210.    Mr. Gibbs cannot afford to pay the $1,146.50 he owes to Rutherford County, nor

the additional $236 license reinstatement fee he now owes to the Department in order to get his

license back. Nor can he afford to pay the $200 initial payment and $25 administrative fee to en-

ter into the Department’s payment plan for reinstatement fees.

       211.    Mr. Gibbs is caught in a vicious cycle. Because of his outstanding Court and Traf-

fic Debt, Mr. Gibbs cannot obtain a driver’s license. But without a driver’s license, Mr. Gibbs

cannot obtain employment sufficient to repay the Court and Traffic Debt.

       212.    Mr. Gibbs lack of transportation has directly harmed his employment opportuni-

ties and prevents him from earning enough money to meet minimal basic needs. Mr. Gibbs cur-

rently works as a day laborer through People Ready, which provides short-term day jobs, such as

stocking shelves or construction work. He typically earns $30-$40 a day if he is offered a job;

currently, he is offered a job once or twice a week, and those jobs are further limited by his

transportation restrictions. As a result, he often takes home only $40 per week. Mr. Gibbs relies

on his sister, who moved in with the family to provide full-time care to their ailing father, to use

their mother’s car to drive him to and from work each day. Many of the job opportunities of-

fered by People Ready are in Nashville. Given her caregiving responsibilities at home, Mr.




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Gibbs’s sister cannot always drive him to and from Nashville; if Mr. Gibbs could obtain a valid

driver’s license, he could drive himself to work.

       213.    Because Mr. Gibbs must rely on others for transportation, he has lost promising

vocational opportunities. Mr. Gibbs has a passion for cooking and was a trained and certified

chef, but his certification lapsed when he was unable to find transportation to attend required

training in Nashville.

       214.    Mr. Gibbs is often forced to walk or ride a bicycle along the sides of roads, which

can be dangerous. In early 2016, Mr. Gibbs was hit by a car while biking home after working the

closing shift at Outback Steakhouse. It was raining and pitch black. The patch of road lacked a

sidewalk. A pickup truck hit Mr. Gibbs and continued driving. Mr. Gibbs suffered cuts, scrapes,

and bruises. Fearing the cost of medical treatment and having no alternative transportation, he

limped home. His bicycle was irreparably damaged in the accident.

       Brianna Booher

       215.    Brianna Booher is 21 years old and lives in Bristol, Tennessee. Ms. Booher is a

single mother of two young daughters, ages 2 and 4.

       216.    Ms. Booher struggles to meet the basic necessities of life for herself and her chil-

dren. She must rely on family support for herself and her children.

       217.    Most recently, Ms. Booher worked at a call center. She made $9 per hour.

       218.    The only way for Ms. Booher to get to and from work was to drive; the drive from

her home in Bristol was about 40 minutes each way.

       219.    Ms. Booher shares a car with her family.

       220.    Ms. Booher could not maintain the call center job without a valid driver’s license.

She is now unemployed and struggles to find employment closer to where she lives.




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       221.    Ms. Booher and her daughters have ongoing medical needs, but since Ms. Booher

lost her license, they have difficulty accessing their doctors.

       222.    Ms. Booher relies on family support for subsistence and the care of her daughters.

Since she became unemployed, she has sought to make small amounts of money by finding work

in and around her neighborhood. She cleans houses, rakes leaves, and performs other odd jobs to

support herself and her children.

       223.    In June 2016, Ms. Booher received two citations in Bristol City Court for improp-

er equipment (broken taillight) and speeding. The two citations, including costs, together totaled

$219.50.

       224.    The Bristol City Clerk does not offer a payment plan and requires that Traffic

Debts be paid in one lump sum, which Ms. Booher could not afford to do.

       225.    On August 3, 2016, Ms. Booher received three citations in Bristol City Court for a

seatbelt violation, improper equipment (broken taillight), and failure to show proof of insurance.

The citations together, including costs, totaled $164.75.

       226.    By this time, Ms. Booher owed Traffic Debt of $384.25. She could not afford to

pay the Traffic Debt at all or in one lump sum.

       227.    Sometime before December 31, 2016, Bristol City sent notification to the De-

partment of Ms. Booher’s nonpayment of Traffic Debt.

       228.    Ms. Booher never received notice from the Department informing her that her li-

cense would be suspended or that it had been suspended.

       229.    On December 31, 2016, the Department suspended Ms. Booher’s driver’s license

for nonpayment of Traffic Debt. Nonpayment was and is the sole basis for the suspension of Ms.

Booher’s driver’s license.




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       230.    The Department did not consider Ms. Booher’s ability to pay in connection with

her license suspension. It did not offer Ms. Booher the opportunity for an ability to pay hearing

and would have refused to give her one if she had requested it.

       231.    On August 3, 2017, Ms. Booher was stopped and charged with driving on a sus-

pended license and having a broken tail light.

       232.    This was the first time Ms. Booher was told that her license had been suspended.

       233.    Ms. Booher went to the Bristol City Clerk’s Office and attempted to pay $50 to

regain her license.

       234.    However, it is the policy and practice of the Bristol City Clerk to require a full

payment on a Traffic Debt before sending notification to the Department to remove a nonpay-

ment suspension.

       235.    On October 26, 2017, Ms. Booher was stopped and charged with driving on a

suspended license and failure to provide evidence of financial responsibility.

       236.    On October 31, 2017, Ms. Booher was stopped and charged with driving on a

suspended license and speeding.

       237.    Ms. Booher paid a reinstatement fee of $140 to the Department on November 1,

2017, by borrowing money from family.

       238.    Ms. Booher mistakenly believed that simply paying the reinstatement fee—and

not the full amount of Traffic Debt—would result in reinstatement of her license. As a result,

she requested a duplicate driver’s license from the Department so that she could regain her driv-

ing privileges and provide for her family. That request was unsuccessful, as Ms. Booher had not

satisfied the Traffic Debt.




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       239.     Ms. Booher must pay a lump sum payment of $384.25 to Bristol City Court to

satisfy her Traffic Debt and remove the nonpayment suspension on her license.

       240.     Ms. Booher cannot afford to make that payment. For this reason, the Bristol City

Traffic Debt suspension is an impenetrable barrier to Ms. Booher’s ability to regain her driver’s

license.

       241.     Ms. Booher’s ability to provide for herself and her family, and to pay Traffic

Debt, is dependent on her ability to drive. Without a valid driver’s license, Ms. Booher is unable

to find gainful employment, transport herself or her children to medical appointments, transport

her children to school, or provide for any of the other needs of her family.


                               CLASS ACTION ALLEGATIONS

       242.     Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23(b)(2) on behalf of a class

and two subclasses of similarly situated people, defined as follows:

           The Statewide Class. All persons whose Tennessee driver’s licenses have
             been or will be suspended by the Department under Tenn. Code Ann. § 55-
             50-502(a)(1)(H) or (I) for nonpayment of Traffic Debt and who cannot now
             and could not at the time of suspension afford to pay such Debt.
           The Wilson County Subclass. All members of the Statewide Class whose
             driver’s licenses have been or will be suspended at the instance of Wilson
             County and/or its Clerks.
           The Rutherford County Subclass. All of the Statewide Class persons whose
             driver’s licenses have been or will be suspended at the instance of Ruther-
             ford County and/or its Clerks.
       243.     All Plaintiffs represent the Statewide Class. Plaintiff Robinson represents the Wil-

son County Subclass, and Plaintiff Gibbs represents the Rutherford County Subclass. The mem-

bers of the Class and Subclasses are so numerous that joinder of all members is impracticable.

Since 2012, the Department has suspended more than 250,000 driver’s licenses for nonpayment

of Traffic Debt. Wilson County accounted for 4,355 such suspensions in the same period, while




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Rutherford County accounted for 8,629. As alleged above, most of the individuals whose licens-

es were suspended for nonpayment were too poor to pay the amounts due.

       244.   There are numerous questions of fact and law common to the classes, including:

              a. Whether Defendants violate the Due Process and Equal Protection clauses by

                  effecting and continuing the suspension of driver’s licenses for nonpayment of

                  Traffic Debt without considering the license-holders’ ability to pay;

              b. Whether Defendants violate the Due Process Clause by effecting the suspen-

                  sion of driver’s licenses under subsections (a)(1)(H) and (I) without notice and

                  an opportunity to be heard;

              c. Whether the limited scope hearings provided under Tenn. Code Ann. §§ 55-

                  50-502(a)(1)(I), 55-50-502(d)(4), and 55-50-303(d)(3) violate the Due Process

                  Clause by preventing the Department from considering the license-holder’s

                  ability to pay;

              d. Whether Defendants violate the Equal Protection Clause by effecting and con-

                  tinuing suspensions of driver’s licenses to collect Traffic Debt and thereby

                  imposing unduly harsh and discriminatory methods for collection of Traffic

                  Debt in violation of James v. Strange, 407 U.S. 128 (1972);

              e. Whether Defendant Purkey violates the Due Process and Equal Protection

                  Clauses by refusing reinstatement to drivers who have satisfied their Traffic

                  Debt but cannot afford the reinstatement fees imposed by the Department; and

              f. Whether the County Defendants have procedures to avoid effecting the sus-

                  pensions of the licenses of Traffic Debtors who cannot (as opposed to will




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                      not) pay, and whether their lack of (or inadequate) procedures bars them from

                      using the Statute as a debt-collection tool.

        245.    All of the named Plaintiffs have had their driver’s licenses suspended for non-

payment of Traffic Debt. All of them were and are unable to pay such Debt because of their in-

digence. Their claims are typical of those other members of the Class and Subclasses.

        246.    Declaratory and injunctive relief is appropriate with respect to the Class as a

whole and each Subclass as a whole, because the Defendants have acted on grounds applicable to

the members thereof.

        247.    The named Plaintiffs and the proposed Class and Subclasses are represented by

Baker Donelson, Civil Rights Corps, Just City, and the National Center for Law and Economic

Justice. Plaintiffs’ attorneys are experienced in class action litigation and will adequately repre-

sent the classes.

                                FIRST CLAIM FOR RELIEF
            Violation of Equal Protection and Due Process – Fundamental Fairness

        248.    Defendants’ effecting and continuing the suspension of people’s driver’s licenses

for nonpayment of Traffic Debt without any inquiry into or consideration of the license holder’s

ability to pay violates the right to fundamental fairness guaranteed by the Fourteenth Amend-

ment to the United States Constitution.

                                  SECOND CLAIM FOR RELIEF
                    Violation of Due Process – Notice and Opportunity to be Heard

        249.    Defendants’ effecting and continuing the suspension of driver’s licenses under

Tenn. Code Ann. 55-50-502(a)(1)(H) and (I), without providing notice and an ability to pay

hearing, violates the right to procedural fairness guaranteed by the Fourteenth Amendment to the

United States Constitution.



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       250.    The limitation of the scope of the hearings under Tenn. Code Ann. §§ 55-50-

502(a)(1)(I), 55-50-502(d)(4), and 55-50-303(d)(3), which prevents the Department from consid-

ering the license-holder’s ability to pay, likewise violates that guarantee of procedural fairness.

                               THIRD CLAIM FOR RELIEF
    Violation of Equal Protection—Unduly Harsh and Discriminatory Collection Methods

       251.    Defendants’ effecting and continuing the suspension of driver’s licenses from in-

digent people who owe Traffic Debt to the State and its counties and municipalities, but not from

other judgment debtors, violates the right to equal protection under law guaranteed by the Four-

teenth Amendment to the United States Constitution.

                                    DEMAND FOR RELIEF

       WHEREFORE, Plaintiffs and class members request the Court enter a judgment in favor

of Plaintiffs and the Class and Subclasses that they represent as follows:

               a. Certifying this case as a class action pursuant to Fed. R. Civ. P. 23(a) and
                  (b)(2) on behalf of the Statewide Class and the two Subclasses.

               b. On behalf of the Class and the Subclasses, declaring that Defendants’ practic-
                  es with respect to suspensions as alleged herein violate the Due Process and
                  Equal Protection Clauses of the Fourteenth Amendment to the United States
                  Constitution;

               c. On behalf of the Class, preliminarily and permanently enjoining Defendant
                  Purkey from suspending, permitting, or continuing the suspension of any driv-
                  er’s license pursuant to Tenn. Code Ann. § 55-50-502(a)(1)(H) or (I) without
                  either

                        i. notice to the licensee that includes the offer of a fact-based inquiry,
                           with participation by the licensee, as to the licensee’s ability to pay
                           and, if such inquiry is requested, a factual determination, prior and as a
                           prerequisite to license suspension, that the amount sought is within the
                           licensee’s ability to pay, or

                       ii. certification from the reporting county or municipality that notice con-
                           taining such offer has been afforded and (if inquiry is requested) such
                           factual determination has been made;




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          d. On behalf of the Wilson and Rutherford County Subclasses, preliminarily and
             permanently enjoining the Counties and Defendants Moss and Harrell from
             notifying the Department of nonpayment of Traffic Debt without either:

                 i. notice to the licensee that includes the offer of a fact-based inquiry,
                    with participation by the licensee, as to the licensee’s ability to pay
                    and, if such inquiry is requested, a factual determination, prior and as a
                    prerequisite to license suspension, that the amount sought is within the
                    licensee’s ability to pay; or

                 ii. until such time as Defendant Purkey establishes procedures and poli-
                     cies pursuant to which the Department will provide all elements of
                     such notice, inquiry, and factual determination if the Counties do not;

          e. On behalf of Plaintiff Sprague, preliminarily and permanently enjoining De-
             fendants Linville, Gaskill, and Mt. Juliet and Lebanon, Tennessee, from noti-
             fying the Department of nonpayment of Traffic Debt without either:

                 i. notice to the licensee that includes the offer in each instance of a fact-
                    based inquiry, with participation by the licensee, as to the licensee’s
                    ability to pay and, if such inquiry is requested, a factual determination,
                    prior and as a prerequisite to license suspension that the amount sought
                    is within the licensee’s ability to pay; or

                 ii. until such time as Defendant Purkey establishes procedures and poli-
                     cies pursuant to which the Department will provide all elements of
                     such notice, inquiry, and factual determination if the municipalities do
                     not;

          f. On behalf of Plaintiffs and the members of the Class, ordering Defendant
             Purkey:

                 i. to remove all suspensions of driver’s licenses for nonpayment of Traf-
                    fic Debt that were effected prior to the date of judgment in this matter;

                 ii. to notify each member of the Class whose license was suspended for
                     nonpayment of Traffic Debt of the removal of such suspension(s) and
                     of the remaining requirements of law, if any, relating to the issuance
                     and restoration of a driver’s license that are applicable to such Class
                     member, provided that such notification shall

                        1. state that payment of a reinstatement fee shall not be required
                           of license-holders who do not have the ability to pay such fee,
                           and

                        2. inform the recipient of the procedure for demonstrating inabil-
                           ity to pay Traffic Debt and reinstatement fees;



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                        iii. so long as such Plaintiff and/or Class Member has satisfied any appli-
                             cable remaining requirements, or upon satisfaction thereof, to reinstate
                             the license of such Plaintiff or Class member; and

                         iv. to waive all reinstatement fees relating to suspensions for nonpayment
                             of Traffic Debt that existed prior to the date of judgment in this matter.

                 g. On behalf of the Class, preliminarily and permanently enjoining Defendant
                    Purkey from imposing reinstatement costs and fees without considering ability
                    to pay where the reinstatement relates to a suspension for nonpayment of Traf-
                    fic Debt;

                 h. Awarding litigation costs and reasonable attorneys’ fees to Plaintiffs, as pro-
                    vided by 42 U.S.C. § 1988; and,

                 i. Ordering such other and further relief as the Court deems just and proper.


s/ Matthew G. White                                     s/ Claudia Wilner
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pursuant to D.C. App. R. 49(c)(3)




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                                CERTIFICATE OF SERVICE

      I hereby certify that on the 19th day of December 2017, a copy of the foregoing docu-
ment was served via the Court’s ECF system to:

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                                                          /s/ Matthew G. White
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